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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)        ‫ ܆‬Original        ‫ ܆‬Duplicate Original


                              UNITED STATES DISTRICT COURT
                                                         for the
                                                                                                                 02/17/2023
                                            Central District of California              LODGED
                                                                                 CLERK, U.S. DISTRICT COURT




                                                                                 2/17/2023
 United States of America                                                     CENTRAL DISTRICT OF CALIFORNIA


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                                                                               BY: ____________BB______ DEPUTY




                                 v.

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                                        Defendant s .



                           CRIMINAL COMPLAINT BY TELEPHONE
                          OR OTHER RELIABLE ELECTRONIC MEANS

 I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or

  about the date of )HEUXDU\, in the county of Los Angeles in the Central District of California, the

defendant(s) violated:
                         Code Section                                    Offense Description
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          This criminal complaint is based on these facts:

          Please see attached affidavit.
         _ Continued on the attached sheet.

                                                                  6SHFLDO$JHQW(OL]DEHWK/DQJDQ&DUGHQDV
                                                                                Complainant’s signature

                                                                       (OL]DEHWK&DUGHQDV)%,6SHFLDO$JHQW
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirementss of Fed. R. Crim. P. 4.11 by
                                                                                            b telephone.

 Date:             )HEUXDU\
                                                                                       Judge’s signature

 City and state: Los Angeles, California                     +RQRUDEOH.DUHQ/6WHYHQVRQ860DJLVWUDWH-XGJH
                                                                                  Printed name and title
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                                 AFFIDAVIT

        I, Elizabeth Langan Cardenas, being duly sworn, declare and

state as follows:

                            I.    INTRODUCTION

        1.   I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) and have been so employed since January

2019.    As an FBI agent, I am authorized to investigate violations

of United States law and execute warrants issued under the

authority of the United States.      I am currently assigned to the

Violent Crime squad at the FBI Long Beach Resident Agency.           My

training includes a wide array of investigative techniques,

operational skills, firearms, tactics, case management,

cybersecurity, and interview and interrogation training.          My

responsibilities include investigating violent street gangs,

narcotics, extortion, cyberstalking, armed bank robberies, armed

commercial robberies, and crimes against children in the Central

District of California.     I have also received specialized

training and instruction related to these matters.         I have

participated in numerous federal and state investigations, and

through my participation in these investigations, I have

interviewed numerous witnesses, cooperating sources, and

defendants.    During my time with the FBI, I have executed

numerous search warrants and participated in the seizure of

physical and digital evidence.

        2.   Through the bank robbery and commercial/retail robbery

investigations in which I have participated, I have used a

variety of investigative techniques, including witness

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interviews, speaking with law enforcement agents and officers,

reviewing surveillance images and cellular telephone data, and

reviewing physical evidence.      As a result of this experience and

my conversations with other law enforcement personnel, to include

FBI Special Agents and local law enforcement detectives with

experienced in commercial robbery investigations, I am familiar

with the methods used by individuals to commit robberies as well

as effective investigative methods to solve them.
                       II.   PURPOSE OF AFFIDAVIT

     3.     This affidavit is made in support of a criminal

complaint against DENEYVOUS HOBSON (“HOBSON”) and JAMES RUSSELL

DAVIS (“DAVIS”) for a violation of Title 18, United States Code,

Section 1951(a) (Conspiracy to Interfere with Commerce by

Robbery).

     4.     This affidavit is also made in support of an

application for a warrant to search the following:

            a.    The person of HOBSON, as described more fully in

Attachment A-1; and

            b.    The person of DAVIS, as described more fully in

Attachment A-2.

     5.     The requested search warrants seek authorization to

seize evidence, fruits, or instrumentalities of violations of 18

U.S.C. § 371, Conspiracy to Commit Bank Robbery; 18 U.S.C.

§ 2113(a), Bank Robbery; 18 U.S.C. §       1951(a) (Conspiracy to

Commit and Interference with Commerce by Robbery), and 18 U.S.C.

§ 924(c), Use of a Firearm in Furtherance of a Crime of Violence,

as described more fully in Attachment B (the “Subject Offenses”).

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     6.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrant and does not purport to set forth all my knowledge of or

investigation into this matter.      Unless specifically indicated

otherwise, all conversations and statements described in this
affidavit are related in substance and in part only.

                    III. SUMMARY OF PROBABLE CAUSE

     7.      On January 24, 2022, at approximately 8:48 a.m.,

HOBSON and DAVIS were seen in a white Chevrolet Tahoe bearing

California License Plate 7ABW490 and Vehicle Identification

Number 1GNFC13068J182738 (the “WCU Casing Vehicle”), registered

to and operated by DAVIS, circling the Wescom Credit Union

branch at 2871 W. 120th Street, Hawthorne, California (“WCU”)

for approximately one hour while a future victim, J.G -- a

Sectran Security, Inc., armored car driver -- parked his armored

car and collected cash from WCU’s ATMs.        DAVIS and HOBSON also

parked the WCU Casing Vehicle facing the ATMs while J.G.

collected cash.    After a WCU employee called police to report

that the WCU Casing Vehicle and its occupants were engaged in

suspicious activity, law enforcement pulled DAVIS and HOBSON

over in the WCU Casing Vehicle.       The two men provided their

identification and both had 2943 Chesapeake Avenue, Los Angeles,

California (the “Chesapeake Ave. Address”) listed as their

primary residence.

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     8.    Three weeks later, to the day -- and almost the exact

same minute -- on February 14, 2022, at approximately 8:48 a.m.,

J.G. was robbed while collecting cash from the same WCU ATMs.

The suspects were three black males who used what appeared to be

an AR-15 and a handgun.     During the robbery, they stole J.G.’s

service pistol, as well as approximately $100,000.         Surveillance

video from WCU robbery shows that one of the armed suspects had

a distinctive star tattoo on his lower back that is of the same
shape, color, and location as a distinctive star tattoo on

HOBSON’s lower back.

     9.    On June 9, 2022, at approximately 7:50 a.m., a Loomis

armored car employee was robbed at a Bank of America branch at

11525 Crenshaw Boulevard, Inglewood, California (the “Inglewood

BoA”)-- just 0.6 miles from the WCU robbery -- by three suspects

who used the same modus operandi as the WCU robbery a few months

earlier.   The suspects took the armored car driver’s handgun and

approximately $92,840.     A vehicle matching DAVIS’s WCU Casing

Vehicle was seen leading a getaway car within 30 minutes of the

robbery on a nearby Ring camera.        Security footage from the

night before the Inglewood BoA robbery shows the getaway vehicle
outside the Chesapeake Ave. Address, and an unidentified male is

seen wearing the same shoes as the Inglewood BoA robbery.

     10.   On September 15, 2022, at approximately 12:20 p.m., a

Brinks armored car driver was robbed at PLS Check Cashers at

2601 S. La Brea, Avenue, Los Angeles, California (“PLS”), in a

similar manner, again by three suspects matching HOBSON and

DAVIS’s description, and departing with approximately $375,000

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and the armored car driver’s handgun.       What appears to be

DAVIS’s WCU Casing Vehicle was again seen leading a getaway car

within 30 minutes of the robbery on a nearby Ring camera.

Security footage from just before the PLS robbery shows the

getaway vehicle outside the Chesapeake Ave. Address and an

unidentified male is seen wearing the same shoes as the PLS

robbery and holding zip ties similar to those used in the

robbery.   Security footage from the night before the PLS robbery
shows the getaway vehicle, as well as HOBSON and DAVIS, and the

WCU Casing Vehicle at HOBSON and DAVIS’s residence.

     11.     On January 9, 2023, at approximately 7:15 a.m., a

Brinks armored car employee was robbed at 99 Cents Only Store at

3060 South Crenshaw Boulevard, Los Angeles, California (the “99C

Store”) -- just 1.5 miles from the BoA and PLS robberies -- by

three suspects who used the same modus operandi as the other

robberies.    Security footage from before the September 14, 2022

PLS robbery showed the 99C getaway vehicle along with the WCU

casing vehicle at HOBSON and DAVIS’s residence.


                    IV. STATEMENT OF PROBABLE CAUSE

     A.      February 14, 2022 Robbery of Sectran Armored Vehicle
             at WCU

     15.     On February 14, 2022, at approximately 8:48 a.m., law

enforcement responded to a robbery call from WCU.         Police

dispatch advised that the victim, J.G., an armored car driver

with Sectran Security, was working with the outside WCU ATM when

three male subjects robbed him at gunpoint.        Responding law


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enforcement confirmed that robbers stole approximately $100,000

in and J.G.’s service pistol.

     16.   Responding officers reviewed WCU’s video surveillance

recordings and observed that at 8:48 a.m., J.G., was kneeling

down working at the west outdoor WCU drive-thru ATM.          While J.G.

was working, a white Honda Accord with what appeared to be

California plates (the “WCU Getaway Vehicle”) parked at the east

outdoor WCU drive-thru ATM, next to J.G.        The WCU Getaway
Vehicle appeared to be occupied by four individuals -- the

driver and three passengers.      The three passengers exited the

WCU Getaway Vehicle and moved directly toward J.G. as the driver

remained inside the car.     One of the subjects was armed with

what appeared to be a black AR-style rifle with an attached

optic.   A second subject appeared to be armed with a black semi-

automatic handgun.    The subjects approached J.G., ordered and

physically forced him to the ground, and removed J.G.’s service

weapon from J.G.’s holster.     The subjects then took the cash and

customer checks from the WCU ATM, which J.G. was going to either

deposit into the ATM or retrieve to provide to WCU.

     17.   As the subjects made their way back to the WCU Getaway
Vehicle, one of the subjects, who appeared to be armed with a

semi-automatic handgun, discharged his handgun, or J.G.’s

service weapon, leaving a bullet casing behind in the area of

the robbery.   The subjects then fled with approximately $100,000

in cash, a bag of check deposits from the WCU ATM, and J.G.’s

service pistol.   The subjects entered the WCU Getaway Vehicle,



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and departed the area traveling eastbound on 120th Street, then

traveling northbound on Van Ness Avenue and out of sight.

     18.   I have reviewed surveillance video recordings of the

robbery and I learned the following:

           a.    The robbery as seen in the video matches the

description of the robbery by law enforcement.

           b.    The first subject (“SUBJECT 1”) is an adult Black

male, heavy set, wearing a dark ski mask with an integrated
bill/visor, a reflective yellow security shirt, and unknown

color pants.    SUBJECT 1 carried a black AR-style rifle with a

mounted optic.

           c.    The second subject (“SUBJECT 2”) is an adult

black male, wearing a hooded dark sweatshirt with the hood up,

dark baseball cap, and dark pants.       SUBJECT 2 carried what

appeared to be white zip ties in his front sweatshirt pocket.

           d.    The third subject (“SUBJECT 3”) is an adult black

male, wearing a dark hooded sweatshirt with the hood up, dark

ski mask with an integrated bill/visor, and dark pants with a

consistent build and physical description as HOBSON.          SUBJECT 3

had a star-shaped tattoo on his lower back that can be seen when
his shirt lifted up during the robbery -- the precise tattoo in

the same location as HOBSON’s, described below.         SUBJECT 3

carried a black semi-automatic handgun.




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        B.    Occupants of the WCU Casing Vehicle Case WCU Exactly
              Three Weeks Before the WCU Robbery

        19.   WCU has since provided to investigators, and I have

reviewed, a bank security report dated January 24, 2022,
detailing a suspicious incident.        The report described that on

January 24, 2022, at approximately 8:40 a.m., the WCU Casing

Vehicle, was observed in the WCU ATM drive-thru lane next to the

Sectran Security Armored Vehicle that was also present at WCU.

The occupants of the WCU Casing Vehicle appeared to be taking

photographs of the armored vehicle and its driver.         Sectran

determined that the armored vehicle truck and driver (J.G.) were

the same on January 24, 2022 during the case and on February 14,

2022 during the robbery.

        20.   Also on January 24, 2022, at approximately 9:00 a.m.,
a WCU employee called local law enforcement to report the

suspicious incident involving the WCU Casing Vehicle and the

suspicious incident at WCU.     The reporting party stated that the

WCU Casing Vehicle was circling WCU and possibly casing in the

area.    Hawthorne Police Department (“HPD”) officers responded to

the call and effected a traffic stop on the WCU Casing Vehicle

near WCU.     The occupants of the WCU Casing Vehicle identified

themselves to HPD officers as DAVIS and HOBSON.         DAVIS and


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HOBSON both provided their California driver’s licenses during

their interaction with patrol officers and both driver’s

licenses listed the Chesapeake Ave. Address as their home

address.




                       WCU Casing Vehicle at WCU on 1/24/22


      C.    Additional Investigation of WCU Robbers

      21.   Following the robbery on February 14, 2022, law

enforcement canvassed the area around WCU in order to locate

surveillance video from nearby businesses or residences.           Law

enforcement located a residential Ring camera on 119th Street

and Haas Avenue, approximately .6 miles away from WCU.           The Ring

camera footage showed an older model white Chevrolet Tahoe, with

tinted windows, consistent in make, model, color, and year as

the WCU Casing Vehicle, leading a newer model white Honda Accord



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with tinted windows, resembling the WCU Getaway Vehicle, at

approximately 8:34 a.m. -- 14 minutes before the robbery at WCU.

      22.   Investigators then conducted records and database

checks on the WCU Casing Vehicle, DAVIS, and HOBSON.          The

database checks regarding the WCU Casing Vehicle returned

results listing DAVIS as its registered owner at the address of

the Chesapeake Ave. Address.

      23.   The database checks regarding HOBSON returned results
indicating HOBSON possessed and utilized telephone number 310-

424-8082 (“Hobson Cell”).

      24.   The database checks regarding DAVIS returned results

indicating DAVIS possessed and utilized telephone number 424-

285-4176 (“Davis Cell”).

      25.   Law enforcement then obtained call detail records for

Hobson Cell and Davis Cell.      Cell phone location data for Hobson

Cell show that on January 24, 2022, the day HOBSON and DAVIS

were seen circling WCU, Hobson Cell had cell phone activity at

or around the Chesapeake Ave. Address a few hours after HOBSON

was seen at WCU.

      26.   Cell phone location data for Davis Cell show that on
the same day, Davis Cell had cell phone activity at or around

the Chesapeake Ave. Address early in the morning before being

seen at WCU as well as several hours after.

      27.   Historical call records for Hobson Cell also show that

on February 14, 2022, the day of the WCU robbery, Hobson Cell

made several phone calls at or around the Chesapeake Ave.

Address during the afternoon following the robbery.          Cell phone

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location data for Davis Cell also show that Davis Cell also had

cell phone activity at or around the Chesapeake Ave. Address

after the robbery.

      28.    The cellular activity of both HOBSON and DAVIS at or

around the Chesapeake Ave. Address, along with the Chesapeake

Ave. Address being an address of record for both HOBSON and

DAVIS, led law enforcement to believe that the Chesapeake Ave.

Address may serve as a hideout or staging area for HOBSON and
DAVIS and that evidence pertinent to the robbery series is

likely to be found at the Chesapeake Ave. Address.

The same cell phone location data suggests that HOBSON and DAVIS

may have turned their phones off in order to avoid law

enforcement detection during the robbery.         Specifically, cell

phone location data for Hobson Cell shows no cellular activity

for two hours during which the robbery occurred.          Cell phone

location data for Davis Cell shows no cellular activity --

meaning the phones were not pinging off of any cellular network

towers during that time -- on Davis Cell for approximately one

hour and twenty minutes around the time the robbery occurred.

      29.    On May 16, 2022, law enforcement obtained a cell tower
warrant to obtain phone numbers that were pinging off cell

towers near WCU right before, during, and right after the

robbery.    I have reviewed those records and determined the

following:

             a.   Neither Hobson Cell or Davis Cell pinged off

towers near WCU during the time of the robbery.          This



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information coincides with the call data records for both DAVIS

and HOBSON.

             b.   I believe that HOBSON and DAVIS either turned off

their cellular phones right before the robbery or left their

cellular phones at home and did not bring them with them in an

effort to not be detected by law enforcement, which is a common

practice by criminals when they commit their crimes.

       30.   On May 17, 2022, investigators issued a Grand Jury
subpoena to Block, Inc. and received a response on May 31, 2022

with returns for both HOBSON’s and DAVIS’s CashApp accounts.

       31.   Investigators received returns from Block, Inc. for

DAVIS’s CashApp account that included a bank of account of

DAVIS’s with Baxter Credit Union.


       D.    June 9, 2022 Robbery of Loomis Armored Vehicle at the
             Inglewood Bank of America

       32.   On June 9, 2022, at approximately 8:00 a.m., law

enforcement responded to a robbery call outside the Inglewood

BoA.   Information from police dispatch advised that the victim,

S.C., an armed employee of Loomis Armored Services, was working
on the outside the Inglewood BoA ATM when three male subjects

robbed him at gunpoint.      Responding law enforcement confirmed

that approximately $92,840 in cash was stolen, as well as S.C.’s

service pistol.    The subjects were seen fleeing in a silver or

gray Chevrolet Equinox four-door sports utility vehicle (the

“BoA Getaway Vehicle”).




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        33.   I have reviewed surveillance video recordings of the

robbery and I learned the following:

              a.   The robbery as seen in the video matches the

description of the robbery by law enforcement and by victim.

              b.   At approximately 7:50 a.m. on June 9, 2022, the

driver of the Loomis armored vehicle, S.C., was kneeling working

on the Inglewood BoA drive-thru ATM, and the armored vehicle was

parked next to him.     While S.C. was working, the BoA Getaway
Vehicle drove up and parked behind the armored vehicle.

              c.   S.C. continued working on the ATM when he noticed

someone (“SUBJECT 1”) approach from the passenger side of the

armored vehicle carrying a dark short-barreled assault rifle and

pointed it at S.C.     The rifle appeared to be similar to the

rifle used by the subjects during the February 14, 2022 WCU

robbery, as well as the later robberies discussed below.

              d.   SUBJECT 1 appeared to be an adult dark-skinned

male, wearing a green hooded sweatshirt with the hood up, black

pants, dark shoes, black gloves, red face covering, and a black

outer carrier vest bearing the word “Security” in yellow color

on the front and back of vest.       S.C. stated that SUBJECT 1 told
him not to move at first, then had him put his hands behind his

head.

              e.   As S.C was complying, the second subject

(“SUBJECT 2”) approached from the driver side of the armored

vehicle.      SUBJECT 2 appeared to be an adult dark-skinned male,

wearing dark face covering, a dark hooded sweatshirt with the



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hood up, dark pants, multi-color shoes of dark, white, and baby

blue while holding a zip tie.

            f.   The third subject (“SUBJECT 3”) approached right

behind SUBJECT 2.     SUBJECT 3 appeared to be an adult dark-

skinned male, consistent in appearance with HOBSON, wearing a

dark and white face covering, half gray and black hooded

sweatshirt with the hood up, gray pants, red and white shoes and

holding a black bag.
            g.   While SUBJECT 2 placed S.C.’s hand in zip-tie

handcuffs, SUBJECT 1 removed S.C.’s service pistol out of his

holster.    SUBJECT 3 removed the keys from S.C.’s belt and opened

the side door of the armored vehicle.        SUBJECT 2 told S.C. to

get out of the way and pushed him to the side.

            h.   Shortly after, SUBJECT 1 grabbed the loose cash

from the ATM and placed the cash into the ATM bag from Loomis.

SUBJECT 1 then entered the armored vehicle and joined SUBJECT 3.

SUBJECT 1 exited the truck carrying a black bag and SUBJECT 1

then told S.C. that he better tell him where the rest of the

money was or he would knock his teeth out.         S.C said there was

not any more money.     Per surveillance video, it appeared SUBJECT
1 did have a short conversation with S.C. before kicking him to

the ground when all three subjects departed the Inglewood BoA in

the BoA Getaway Vehicle.

      34.   Loomis Corporate Security confirmed the loss amount

from the robbery to be approximately $48,000 stolen from inside

the armored vehicle, and approximately $44,840 stolen from the

Inglewood BoA ATM, totaling approximately $92,840.

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      E.    June 9, 2022 911 Call at 10935 South Spinning Avenue,
            Inglewood, CA

      35.   At approximately 8:03 a.m. on June 9, 2022, less than

10 minutes after the Loomis armored vehicle robbery occurred at

the Inglewood BoA, a witness called 911 to report an incident at

an intersection near 10935 South Spinning Avenue, Inglewood,

California.      The witness told dispatch that they observed three

males covered in black ski masks and black clothing, armed with
a handgun and a black assault rifle, exchanging a backpack.            The

witness also told dispatch that they observed the three males

exit/enter two vehicles, a white truck and/or a white four-door

vehicle, consistent with the WCU Casing Vehicle.


      F.    Additional Investigation of June 9, 2022 Robbery

      36.   Upon canvassing the area of the robbery and the area

of the eyewitness incident, law enforcement located a

residential Ring camera located near 10932 South Spinning

Avenue, Inglewood, California, approximately 350 feet from where

the eyewitness 911 call occurred.        I have reviewed the Ring
camera video and determined:

            a.     An older model white Chevrolet Tahoe with tinted

windows drove south on Spinning Avenue, followed immediately by

a silver Chevrolet Equinox at approximately 7:23 a.m., around 27

minutes before the robbery at the Inglewood BoA.

            b.     The white Chevrolet Tahoe is consistent in make,

model, year, and color to the WCU Casing Vehicle and the silver


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Chevrolet Equinox is consistent in make, model, year, and color

to the BoA Getaway Vehicle.      Thus, in both the February 14, 2022

and the June 9, 2022 robberies, within approximately 30 minutes

prior to each robbery, an older model white Chevrolet Tahoe with

tinted windows, consistent in make, model, color, and year with

DAVIS’s WCU Casing Vehicle is seen on video leading the suspect

vehicles for each robbery (the WCU Getaway Vehicle and the BoA

Getaway Vehicle).




                      WCU Casing Vehicle at WCU on 1/24/22




            DAVIS’s WCU Casing Vehicle on Ring Camera on 2/14/22




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      DAVIS’s WCU Casing Vehicle on Ring Camera on 2/14/22




                  DAVIS’s WCU Getaway Vehicle at 2/14 WCU Robbery




    DAVIS’s WCU Casing Vehicle & BoA Getaway Vehicle on Ring Camera on 6/9/22




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   DAVIS’s WCU Casing Vehicle and the BoA Getaway Vehicle on Ring Camera on

                                    6/9/22




                  BoA Getaway Vehicle at BoA Robbery on 6/9/22



      37.   On June 24, 2022, investigators obtained a GPS tracker

warrant for the WCU Casing Vehicle in order to ascertain if

DAVIS was using the WCU Casing Vehicle in furtherance of

planning another robbery or casing additional banks.




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      38.   On June 30, 2022, the tracking device was installed on

the WCU Casing Vehicle.      I have reviewed the tracking device

records and learned the following:

            a.    On July 1, 2022, at approximately 6:36 p.m., the

WCU Casing Vehicle drove to SchoolsFirst Credit Union located at

3401 West Century Boulevard, Inglewood, California. (Sectran

Security Service, Inc., services all SchoolsFirst Credit Unions

in Los Angeles County).
            b.    On July 18, 2022, at approximately 5:45 p.m., the

WCU Casing Vehicle drove to California Credit Union located at

3550 West Century Boulevard, Inglewood, California.

      39.   Based on surveillance efforts and departmental

resources, as well as the GPS location of Davis Cell, DAVIS

primarily resides in Palmdale.       His secondary residence is the

Chesapeake Ave. Address.      Neither of his residences are near

these bank locations.     Moreover, each of the credit unions have

locations that are closer to his primary and secondary address.

      40.   On July 20, 2022, investigators served a Federal Grand

Jury Subpoena to Baxter Credit Union (“BCU”) for DAVIS’s

subscriber information, financial statements and transactions.
BCU returns showed that DAVIS frequently used the WCU ATM to

withdraw money.    Financial transactions from BCU showed that

DAVIS used the WCU ATM for either deposits or withdrawals

approximately 12 times between January and February 2022.

      41.   On May 19, 2022, investigators served a Federal Grand

Jury Subpoena to WCU for DAVIS’s subscriber information,

financial statements, and transactions.        WCU responded to the

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subpoena by informing law enforcement that DAVIS did not ever

hold an account with WCU.

        42.   On September 9, 2022, investigators served a Federal

Grand Jury Subpoena to Zelle/Early Warning Services, LLC for

DAVIS’s bank accounts.       Zelle/Early Warning Services, LLC

responded to the subpoena on October 10, 2022.          The returns

showed that DAVIS’s bank accounts were held with BCU and Ally

Bank.    There was no evidence showing DAVIS held accounts at
either SchoolsFirst Credit Union or California Credit Union.


        G.    September 15, 2022 Robbery of Brinks Armored Vehicle
              at PLS Check Cashing Store in Los Angeles, CA

        43.   On September 15, 2022, at approximately 12:20 p.m.,

law enforcement responded to a robbery call at PLS Check Cashing

Store (“PLS”) at 2601 South La Brea Avenue, Los Angeles,

California.        The responding officers determined that the victim,

R.M. -- an armed employee of a Brinks armored vehicle -- was

robbed at gunpoint.       Law enforcement interviewed R.M. following

the robbery.        I have reviewed that report and learned the

following:
              a.     Shortly after the armored vehicle arrived outside

of the PLS and parked, R.M. exited the armored vehicle carrying

a Brinks bag containing money for drop off at PLS.          While R.M.

stood outside of an employee entrance for PLS waiting for the

door to open, he observed a gray Ford Explorer SUV with black

trim and no license plates (the “PLS Getaway Vehicle”), parked

in the parking lot.


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             b.    R.M. then noticed a green laser pointed at him,

felt a gun on his shoulder, and observed three subjects approach

him.   The first subject (“SUBJECT 1”) pointed a “sub machine

gun” at him.      The subjects then demanded R.M.’s keys, and

simultaneously gave him confusing and contradicting orders to

stand up, get on the ground, and get on his knees.          The second

subject (“SUBJECT 2”) removed the victim’s service pistol and

keys from his belt.
             c.    SUBJECT 1 held R.M. at gunpoint outside of the

armored vehicle while SUBJECT 2 and the third subject (“SUBJECT

3”) entered the armored vehicle.         SUBJECT 2 and SUBJECT 3 then

exited the armored vehicle carrying bags containing money.           All

three subjects entered the PLS Getaway Vehicle and drove away.

R.M. described all three subjects as adult black males wearing

dark clothing.     SUBJECT 1 was heavy set while SUBJECT 2 and

SUBJECT 3 were average height and build.         One subject had longer

hair with braids or dreads.

       44.   I have reviewed surveillance video recordings of the

robbery and I learned the following:

             a.    The robbery as seen in the video matches the
description of the robbery by R.M..

             b.    At approximately 12:16 p.m. on September 15,

2022, a vehicle later identified as the PLS Getaway Vehicle with

no license plates, entered the PLS parking lot and parked

temporarily in a parking spot.       Approximately one minute later,

the armored vehicle entered the parking and parked temporarily

near PLS.    The PLS Getaway Vehicle repositioned in the parking

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lot and parked directly behind the armored vehicle, facing in

the opposite direction.      The armored vehicle drove forward and

parked directly outside of the PLS.        R.M. exited the armored

vehicle carrying a bag, closed the truck’s side door, and

approached the PLS employee door.

           c.    While R.M. stood waiting outside of the PLS door,

three subjects exited the PLS Getaway Vehicle and approached

him.   SUBJECT 1 carried a black short-barreled assault rifle and
pointed it at R.M.     R.M. dropped the money bag and ran away from

the subjects toward the front of the armored vehicle.           After

running a few feet, SUBJECT 1 caught up with R.M., who stopped

running.   SUBJECT 1 held R.M. at gunpoint.        SUBJECT 2 carried

what appeared to be white zip-ties in his right hand, removed

R.M.’s service pistol out of his holster and the keys from

R.M.’s belt.    SUBJECT 3 carried what appeared to be a large dark

open duffel bag.

           d.    SUBJECT 1 appeared to direct R.M. to walk back to

the side door of the armored vehicle with his hands up and the

rifle pointed at his back.      SUBJECT 2 approached the side door

of the truck, unlocked it with R.M.’s key, and opened the door.
SUBJECT 2 and SUBJECT 3 entered the truck, while SUBJECT 1

remained outside of the truck, still pointing the rifle at

R.M.’s back.    SUBJECT 1 appeared to direct R.M. to kneel on the

ground with his hands still in the air.

           e.    SUBJECT 2 exited the truck carrying a Brinks bag

containing cash and picked up the Brinks bag that R.M.

previously dropped on the ground.        SUBJECT 3 followed and exited

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the truck carrying the black duffel bag and cash.          All three

subjects departed the PLS in the PLS Getaway Vehicle.

             f.    SUBJECT 1 appeared to be an adult dark-skinned

male, wearing a dark facing covering, a black hooded sweatshirt

with the hood up, black pants, black and white Nike shoes, and

black gloves.     SUBJECT 1 carried a black assault-style rifle

with an optic.

             g.    SUBJECT 2 appeared to be an adult male, wearing a
dark ski mask that covered almost all of his face and head, a

black hooded sweatshirt with the hood down, black pants, black

and white shoes, and blue gloves.        SUBJECT 2 appeared to carry

white zip ties in his right hand.        SUBJECT 2’s build and

appearance is consistent with HOBSON, corroborated by the DVR

footage at the Chesapeake Ave. Address described below.

             h.    SUBJECT 3 appeared to be an adult dark-skinned

male, wearing a dark face covering, a red or maroon hooded

sweatshirt with the hood up, dark gray pants, white shoes and

dark gloves.      SUBJECT 3 appeared to carry a large black duffel

bag.

       45.   Brinks Corporate Security confirmed the loss amount
from the robbery to be approximately $374,168.

       46.   On September 15, 2022, approximately two hours after

the robbery at PLS, law enforcement conducted surveillance at

the Chesapeake Ave. Address, which is approximately .6 miles

away from PLS.     Law enforcement observed DAVIS taking out the

trash at the Chesapeake Ave. Address, then going into the

Chesapeake Ave. Address.      DAVIS started driving away from the

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Chesapeake Ave. Address, but stopped to speak with a neighbor

before departing the area.

        47.   Based on surveillance efforts conducted by law

enforcement from August 2022 to October 2022, it appears that

DAVIS is the primary operator of the WCU Casing Vehicle, as

DAVIS is the only person observed driving the WCU Casing

Vehicle.


        H.    Los Angeles Sherriff’s Department Traffic Stop of
              HOBSON

        48.   On September 30, 2022, LASD Carson patrol units

conducted a traffic stop of HOBSON while he was driving for a

traffic violation.     In their conversation with HOBSON, LASD

asked about HOBSON’s tattoos.       HOBSON exited the vehicle and

took off his shirt to show the officers his back tattoos.

HOBSON had tattoos all over his back and specifically, on

HOBSON’s right hip, officers noticed a tattoo in the shape of a

star.

        49.   I reviewed the footage from LASD’s traffic stop with

HOBSON and recognized the star tattoo as the same star tattoo
that was observed in the surveillance footage from the WCU

robbery on February 14, 2022.       HOBSON’s star tattoo appears to

be in the same location, just above the right hip, as the star

tattoo shown on SUBJECT 3’s lower back in the February 14, 2022

WCU Robbery.     An LAPD RHD detective also reviewed the photo and

observed the tattoo during HOBSON’s booking on a separate charge




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and confirmed it to be the same as in the surveillance photo and

traffic stop.




       WCU Surveillance Image                 Hobson tattoo on 9/30/22




      I.    Search Warrants Executed at the Chesapeake Ave.
            Address, and Other Listed Addresses on October 18,
            2022

      50.   On October 17, 2022, the Honorable Pedro V. Castillo,

United States Magistrate Judge for the Central District of

California, issued residential search warrants for the

Chesapeake Ave. Address and two other listed residences for

HOBSON and DAVIS.

      51.   On October 18, 2022, the FBI, in partnership with

LAPD, HPD, and Inglewood Police Department, executed the search

warrants and collected evidence at each location.           At the

Chesapeake Ave. Address, the FBI seized a home security camera

DVR system. DAVIS’s father, James Russell Davis Sr., provided

the FBI with the password to the DVR system.



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        52.   Between December 30, 2022 and January 18, 2023, I

reviewed the footage extracted from the DVR system and observed

the following:

        53.   The DVR system consisted of several cameras.       Each of

the cameras contained recordings that appeared to be motion

activated recordings.     The time shown on the recordings was

accurate but appears to be so based on the times of daylight or

darkness. The DVR system’s footage did not go back past March of
2022.

        54.   On June 8, 2022, the night before the BoA robbery, at

approximately 11:01 p.m., the footage showed a silver Chevrolet

Equinox, consistent in make, model, color, year, and appearance

consistent with the BoA Getaway Vehicle, slowing down in front

of the Chesapeake Ave. Address.       Minutes later, at approximately

11:05 p.m., the footage shows DAVIS walking away from the

residence and meeting up with two unidentified males, one

wearing what appears to be a security guard uniform.          The other

unidentified male appeared to be wearing Nike Jordan shoes,

resembling those worn by SUBJECT 2 in the June 9 BoA robbery.

Also seen in the footage at this time is the silver Chevrolet
Equinox consistent with the BoA Getaway Vehicle, parked outside

of the residence in front of what appeared to be the WCU Casing

Vehicle.      At approximately 11:59 p.m., the footage showed what

appeared to be the WCU Casing Vehicle driving away from the

residence, followed by the same silver Chevrolet Equinox

consistent in make, model, year, and color with the BoA Getaway

Vehicle.

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                                                 BoA GETAWAY VEHICLE


      June 8, 2943 Chesapeake Video




                                           Subject 2 Shoes in Sept 15 Robbery




Subject 2 in Sept 15 Robbery          Shoes in June 8 Chesapeake Video




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                 Tahoe and Equinox in Chesapeake Video



      55.   On September 15, 2022 at 11:56 a.m. (approximately 25

minutes before the PLS robbery), the video footage showed DAVIS

arrive at the residence and park the WCU Casing Vehicle in the

driveway.   The next video started with DAVIS at the rear of the

WCU Casing Vehicle gathering items from the car.          The video

abruptly stopped and jumped to 12:00 p.m.         At this time, HOBSON

was also near the driveway of the residence and appeared to be

talking to DAVIS.     HOBSON was wearing black sweatpants and the
same shoes worn by SUBJECT 2 during the robbery.          DAVIS

continued to gather items from the vehicle and brought them to

the backyard.    HOBSON walked to a white Honda Accord that was

parked nearby.    The white Honda Accord was consistent with the

make, model, year, color, and appearance as the WCU Getaway

Vehicle.    HOBSON entered the driver seat of the vehicle and the

video abruptly stopped.      The next video at 12:05 p.m. -- 15

minutes before the PLS robbery -- showed a gray Ford Explorer,

consistent in make, model, year, and color as the PLS Getaway

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Vehicle, stopped in the middle of the street between the white

Chevy Tahoe consistent with the WCU Casing Vehicle and white

Honda Accord consistent with the WCU Getaway Vehicle.           The three

vehicles then travel in tandem northbound on Chesapeake.           The

location of the robbery was .7 miles from the Chesapeake Ave.

Address.




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Chesapeake Video (Hobson and Davis)                PLS Robbery Video (SUBJECT 2)




HOBSON Shoes at Chesapeake Ave Address        SUBJECT 2 shoes at PLS Robbery




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       56.    At approximately 2:45 p.m. -- a few hours after the

BoA robbery -- video showed DAVIS and the WCU Casing Vehicle

back at the residence.      DAVIS was wearing different shoes than

those he left wearing and was carrying a white plastic grocery

bag.   He first placed that bag under a table in his backyard,

then later carefully placed it in a trash can.

       57.    On September 14, 2022 at 12:59 p.m. -- the day before

the BoA robbery -- the Chesapeake Ave. Address video showed
DAVIS at the WCU Casing Vehicle while it was parked in the

driveway.      At 10:56 p.m., video showed the gray Ford Explorer,

consistent in make, model, color, and year of the PLS Getaway

Vehicle      arrive at the residence, make a three-point turn and

park nearby.     The next video started at 11:20 p.m.

       58.    In addition to the home security camera DVR system

seized at the Chesapeake Ave. Address, the FBI also seized

HOBSON’s iPhone at his residence, 816 Bartlett Street, Unit 213,

Los Angeles, California.      Upon reviewing HOBSON’s iPhone, I

reviewed a text message conversation between HOBSON and a

recipient named “Lil Calvin Rely.”        According to the timestamp

at the top of the text message, the conversation started at 3:48
p.m. on Tuesday February 15, one day after the February 14 WCU

robbery, in which J.G.’s service pistol was stolen and

accidentally fired.     “Lil Calvin Rely” asked, “How much do you

want for da other one?”, to which HOBSON replied, “800 bro.”

“Lil Calvin Rely” then asked, “Is it all the way bad or just

hot,” to which HOBSON replied, “Bro it’s not all the way bad it



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was just shot doing a get down no body’s I just ain’t fucking

with it bro lol.”

      59.    Based on my training and experience I know that

criminals who use firearms in committing a crime will often

attempt to dispose of said firearms after the crime has been

committed in order to rid themselves of the evidence.           I believe

HOBSON was trying to sell the firearm used in the February 14

WCU robbery as the firearm was accidentally discharged during
the robbery and HOBSON is talking about selling something

because “it was just shot doing a get down.”


      J.     January 9, 2023 Robbery of 99 Cents Only store (“99C”)
             in Los Angeles, California

     60.     On January 9, 2023, at approximately 7:15 a.m., LAPD

officers responded to a reported robbery at 3060 South Crenshaw

Boulevard.    They met with victim F.V. who was working as a Brinks

armored car driver.     F.V. said that every Monday he takes the

same route.    F.V. arrived at 99C at approximately 7:11 a.m. for a

money pick up.    As F.V. exited 99C, he noticed a black sedan

parked next to his Brinks vehicle and saw two men approach him.
Suspect 1 was holding an AR style rifle and ordered F.V. to the

ground.     F.V. complied and laid face down on the ground and

Suspect 1 removed F.V.’s handgun from his holster.         Suspect 2

took F.V.’s key (to the Brinks truck) and his money bag.          Suspect

2 used F.V.’s key to enter the Brinks truck.        Suspect 2 later

exited the Brinks truck with bags of currency.         Both suspects

fled in the black sedan vehicle with the property.


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     61.   Suspects were described as:

           a.    Suspect 1, Male, 6’00”, 210 lbs, with AR style

rifle, consistent with HOBSON’s build and characteristics.

           b.    Suspect 2, Male, 5’07”, slim build.

     62.   Detectives obtained video from the Brinks truck, Union

Bank (adjacent to 99C) and the Arco Gas Station (across the

street).   Below are images from the above listed video. Upon

further review of the video, it appeared there was a third
suspect, who remained inside of the vehicle. The suspect vehicle

appeared to be a black Kia K5 (the “99C Getaway Vehicle”).




       09/15/22 PLS Robbery                  01/09/23 99C Robbery


     63.   After the 99C robbery on January 9, 2023, I further

reviewed the footage from the home security DVR system.          I


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noticed that on September 14, 2022 at 12:59 p.m., the footage

showed DAVIS at his WCU Casing Vehicle while it was parked in the

driveway and a black Kia K5, consistent in make, model, year and

color as the 99C Getaway Vehicle, parking behind the WCU Casing

Vehicle in the driveway.      Later in the evening at 10:23 p.m., a

black Kia K5, consistent in make, model, year, and color as the

99C Getaway Vehicle arrived back at the residence and parked

across the street.    A large male, consistent with DAVIS’s build
and description, exited the driver seat of the 99C Getaway

Vehicle.   DAVIS’s WCU Casing Vehicle was also parked at the

residence at this time.     At 10:56 p.m., footage showed a gray

Ford Explorer, consistent in make, model, year, and color as the

PLS Getaway Vehicle, arrive at the residence, make a three-point

turn and park nearby.     Then, at approximately 11:20 p.m., DAVIS’s

WCU Casing Vehicle was no longer at the residence and 99C Getaway

Vehicle and the PLS Getaway Vehicle follow each other southbound

on Chesapeake.




     Chesapeake Video (9/14/2022)        99C Robbery Suspect Vehicle (1/9/23)




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        K.    Similar Modus Operandi in All Four Robberies

        64.   Each robbery was committed by three suspects who

brandished what appeared to be a black short-barreled assault

rifle, pointing them directly at the victims.         All four

robberies were of armored vehicle drivers as they were handling

cash.    All four armored vehicles only had one employee driving

and operating the armored vehicles.        All four robberies

consisted of one of the robbers stealing the armored vehicle

driver’s service pistol from their holster.         In all four

robberies, the robbers attempted to gain access to the armored

vehicle.      In three of the four robberies, the robbers entered

the armored vehicle and obtain cash from inside.          The modus

operandi of the robbers was described in the police reports and

witness statements ordering the armored vehicle driver to the

ground, and grabbing the victim’s service pistol and keys, while
brandishing a firearm.      In all four robberies, one of the

robbers brought white zip ties with them either in their hand or

in their pocket.     Several of the witness descriptions and

surveillance images of the robbers in all three robberies depict

three males who had almost their entire faces covered, gloves on
their hands, wearing hooded sweatshirts with their hoods on in

every robbery.     The robberies were each within two miles of the

previous.     In two of the robberies, the suspects appeared to

bring the same bag.     In all four robberies, one of the suspects

was armed with a rifle that has a sling attached.

        65.   Based on the suspicious activity on January 24, 2022

and subsequent robbery on February 14, 2022 -- which included

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the same location, same truck, and same driver at the exact same

time of morning –- I believe that DAVIS and HOBSON were involved

in the February 14, 2022 robbery.        That belief is bolstered by

defendant’s criminal histories (which include multiple burglary

related crimes) and appearance which are consistent with that

seen on the February 14, 2022 video -- including a distinctive

tattoo.    That the June 9, 2022 robbery was only .6 miles away

and both the June 9, 2022 robbery and September 15, 2022 robbery
were conducted in almost the exact same manner draws me to

believe that they were conducted by the same crew.          That all of

the differing getaway vehicles were seen at HOBSON and DAVIS’s

Chesapeake Ave. Address, often with individuals matching the

description and/or wearing the same footwear as the robbers,

leads me to believe that the same crew is responsible for all

robberies.

      L.     HOBSON’s Criminal History

     66.     Based on my review of HOBSON’s criminal history, I

learned the following:

     67.     HOBSON, the passenger with DAVIS on the day of the

suspicious activity, also has the following convictions:
             a.   First Degree Robbery in violation of California

Penal Code § 211, March 7, 2003; and

             b.   Assault with Dangerous Weapon in violation of

California Penal Code § 245(A)(1), March 7, 2003.




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      M.    DAVIS’s Criminal History

     68.    Based on my review of DAVIS’s criminal history, I

learned the following:

            a.   On August 25, 2010, DAVIS was convicted of

Possession of Burglary Tools, in violation of California Penal

Code § 466;

            b.   On August 9, 2017, DAVIS was convicted of receipt

of stolen property in violation of California Penal Code

§ 496(a);

            c.   LAPD records also show that on January 26, 2015,

DAVIS, along with four other suspects, were arrested for ATM

theft in which the suspects fled with an entire ATM; and

            d.   DAVIS is on formal probation for his convictions

until January 7, 2025.

              TRAINING AND EXPERIENCE ON DIGITAL DEVICES

     69.    Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is often
retrievable from digital devices:

            a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

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directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,
programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain
software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

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develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

     70.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to
inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000
average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

     VI. PROCEDURES FOR ELECTRONICALLY STORED INFORMATION

     71.   With the approval of the Court in signing this

warrant, agents executing this search warrant will employ the

following procedures regarding computers and other electronic



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storage devices, including electronic storage media, that may

contain data subject to seizure pursuant to this warrant:

     A.    Forensic Imaging

     72.   After securing the premises, or if sufficient

information is available pre-search to make the decision, the

executing agents will determine the feasibility of obtaining

forensic images of electronic storage devices while onsite.           A

forensic image is an exact physical copy of the hard drive or
other media.   A forensic image captures all the data on the hard

drive or other media without the data being viewed and without

changing the data.    Absent unusual circumstances, it is essential

that a forensic image be obtained prior to conducting any search

of the data for information subject to seizure pursuant to this

warrant.   The feasibility decision will be based upon the number

of devices, the nature of the devices, the volume of data to be

imaged, the need for and availability of computer forensics

specialists, the availability of the imaging tools required to

suit the number and nature of devices found, and the security of

the search team.    The preference is to image onsite if it can be

done in a reasonable amount of time and without jeopardizing the
integrity of the data and the agents’ safety.         The number and

type of computers and other devices and the number, type, and

size of hard drives are of critical importance.         It can take

several hours to image a single hard drive - the bigger the

drive, the longer it takes.      As additional devices and hard

drives are added, the length of time that the agents must remain

onsite can become dangerous and impractical.

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     73.    If it is not feasible to image the data on-site,

computers and other electronic storage devices, including any

necessary peripheral devices, will be transported offsite for

imaging.    After verified images have been obtained, the owner of

the devices will be notified and the original devices returned

within forty-five (45) days of seizure absent further application

to this court.

      B.    Identification and Extraction of Relevant Data
     74.    After obtaining a forensic image, the data will be

analyzed to identify and extract data subject to seizure pursuant

to this warrant.    Analysis of the data following the creation of

the forensic image can be a highly technical process requiring

specific expertise, equipment and software. There are thousands

of different hardware items and software programs, and different

versions of the same programs, that can be commercially

purchased, installed, and custom-configured on a user’s computer

system.    Computers are easily customized by their users.        Even

apparently identical computers in an office or home environment

can be different with respect to configuration, including

permissions and access rights, passwords, data storage, and
security.   It is not unusual for a computer forensic examiner to

have to obtain specialized hardware or software, and train with

it, in order to view and analyze imaged data.

     75.    Analyzing the contents of a computer or other

electronic storage device, even without significant technical

challenges, can be very challenging.       Searching by keywords, for

example, often yields many thousands of hits, each of which must

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be reviewed in its context by the examiner to determine whether

the data is within the scope of the warrant.        Merely finding a

relevant hit does not end the review process for several reasons.

The computer may have stored metadata and other information about

a relevant electronic record – e.g., who created it, when and how

it was created or downloaded or copied, when it was last

accessed, when it was last modified, when it was last printed,

and when it was deleted.     Keyword searches may also fail to
discover relevant electronic records, depending on how the

records were created, stored, or used.       For example, keywords

search text, but many common electronic mail, database, and

spreadsheet applications do not store data as searchable text.

Instead, the data is saved in a proprietary non-text format.

Documents printed by the computer, even if the document was never

saved to the hard drive, are recoverable by forensic programs

because the printed document is stored as a graphic image.

Graphic images, unlike text, are not subject to keyword searches.

Similarly, faxes sent to the computer are stored as graphic

images and not as text.     In addition, a particular relevant piece

of data does not exist in a vacuum.       To determine who created,
modified, copied, downloaded, transferred, communicated about,

deleted, or printed the data requires a search of other events

that occurred on the computer in the time periods surrounding

activity regarding the relevant data.       Information about which

user had logged in, whether users share passwords, whether the

computer was connected to other computers or networks, and

whether the user accessed or used other programs or services in

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the time period surrounding events with the relevant data can

help determine who was sitting at the keyboard.

     76.   It is often difficult or impossible to determine the

identity of the person using the computer when incriminating data

has been created, modified, accessed, deleted, printed, copied,

uploaded, or downloaded solely by reviewing the incriminating

data. Computers generate substantial information about data and

about users that generally is not visible to users.          Computer-
generated data, including registry information, computer logs,

user profiles and passwords, web-browsing history, cookies and

application and operating system metadata, often provides

evidence of who was using the computer at a relevant time.           In

addition, evidence such as electronic mail, chat sessions,

photographs and videos, calendars and address books stored on the

computer may identify the user at a particular, relevant time.

The manner in which the user has structured and named files, run

or accessed particular applications, and created or accessed

other, non-incriminating files or documents, may serve to

identify a particular user.      For example, if an incriminating

document is found on the computer but attribution is an issue,
other documents or files created around that same time may

provide circumstantial evidence of the identity of the user that

created the incriminating document.

     77.   Analyzing data has become increasingly time-consuming

as the volume of data stored on a typical computer system and

available storage devices has become mind-boggling.          For example,

a single megabyte of storage space is roughly equivalent of 500

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double-spaced pages of text.      A single gigabyte of storage space,

or 1,000 megabytes, is roughly equivalent of 500,000 double-

spaced pages of text.     Computer hard drives are now being sold

for personal computers capable of storing up to 2 terabytes

(2,000 gigabytes) of data.      And, this data may be stored in a

variety of formats or encrypted (several new commercially

available operating systems provide for automatic encryption of

data upon shutdown of the computer).       The sheer volume of data
also has extended the time that it takes to analyze data.

Running keyword searches takes longer and results in more hits

that must be individually examined for relevance.          And, once

reviewed, relevant data leads to new keywords and new avenues for

identifying data subject to seizure pursuant to the warrant.

     78.   Based on the foregoing, identifying and extracting

data subject to seizure pursuant to this warrant may require a

range of data analysis techniques, including hashing tools to

identify data subject to seizure pursuant to this warrant, and to

exclude certain data from analysis, such as known operating

system and application files.      The identification and extraction

process, accordingly, may take weeks or months. The personnel
conducting the identification and extraction of data will

complete the analysis within one-hundred twenty (120) days of

this warrant, absent further application to this court.

     79.   All forensic analysis of the imaged data will employ

search protocols directed exclusively to the identification and

extraction of data within the scope of this warrant.

      C.   Genuine Risks of Destruction

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     80.    Based upon my experience and training, and the

experience and training of other agents with whom I have

communicated, electronically stored data can be permanently

deleted or modified by users possessing basic computer skills.

In this case, only if the subject receives advance warning of the

execution of this warrant, will there be a genuine risk of

destruction of evidence.

       D.   Prior Attempts to Obtain Data
     81.    The United States has attempted to obtain this data by

other means.   For example, search warrants were obtained for the

suspect social media accounts, but for many, it appears that

communications had been deleted from the account, and/or the

accounts themselves had been deleted.       In some instances, legal

process was served for several accounts but the providers lacked

sufficient information to provide responsive records.

                              V. CONCLUSION

     82.    For all the reasons described above, there is probable

cause to believe that HOBSON and DAVIS violated 18 U.S.C.
§ 1951(a) (Conspiracy to Commit Interference with Commerce by

Robbery).

     83.    Additionally, there is a fair probability that fruits,

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evidence, or instrumentalities of the Subject Offenses will be

found on the persons of HOBSON and DAVIS.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                  WK day of
  _______, 2023.
  _______
_________,
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